           Case 1:02-cr-05301-DAD Document 406 Filed 04/27/05 Page 1 of 3


 1   Eric K. Fogderude, #070860
     FLETCHER & FOGDERUDE, INC.
 2   A Professional Corporation
     5412 North Palm Avenue, Suite 101
 3   Fresno, California 93704
     Telephone: (559) 431-9710
 4   Facsimile: (559) 431-4108
 5   Attorney for Defendant, DANIEL BOOBAR
 6
 7
                             IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                           EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,           )               CASE NO. CR-F-02-5301 OWW
11                                       )
                 Plaintiff,              )
12                                       )               STIPULATION AND ORDER FOR A
     vs.                                 )               RESETTING OF HEARING ON REPORT
13                                       )               OF PROBATION OFFICER
     DANIEL BOOBAR,                      )
14                                       )
                 Defendants.             )
15   ____________________________________)
16
               IT IS HEREBY STIPULATED by and between Plaintiff, the United States of
17
     America, and the Defendant, by and through his attorney, that the date set for hearing on
18
     the presentence report of the probation officer and sentencing be extended as follows:
19
               Defense Counsel’s Informal Objections due to Probation and AUSA:
20             by May 13, 2005.
21             Formal Objections must be filed with the Court and served on Probation and
               AUSA: by June 3, 2005.
22
               RPO Hearing: move from April 25, 2005, at 1:30 p.m. to June 13, 2005, at
23             1:30 p.m.
24             The parties also agree that any delay resulting from this continuance shall be
25   excluded in the interest of justice pursuant to 18 U.S.C. sections 3161(h)(1)(F),
26   3161(h)(8)(A) and 3161(h)(8)(B)(I).
27             Good cause exists for this continuance in order to allow the government additional
28   ///


     U.S. vs. Boob ar, et al.                                 Stipulation and Order for a resetting of Hearing
     C ase N o. C R-F - 0 2-5 30 1 O W W                      Of Hea ring on Report of Probation Officer
        Case 1:02-cr-05301-DAD Document 406 Filed 04/27/05 Page 2 of 3


 1   time to provide the defense with pre-sentence related discovery from the U.S. Customs,
 2   Office in Florida, as previously ordered on January 4, 2005.
 3
 4
 5   DATED: April 20, 2005                    Respectfully submitted,
 6
 7                                               /s/
 8                                            ERIC K. FOGDERUDE
                                              Attorney for Defendant,
 9                                            DANIEL BOOBAR
10
11
12                                              /s/
     DATED: April 21, 2005
13                                            JON CONKLIN
                                              Assistant United States Attorney
14
15
                                              ORDER
16
17             IT IS SO ORDERED.
18
                                                       /s/ OLIVER W. WANGER
19
     DATED: April 26, 2005                    ________________________________________
20                                            HONORABLE OLIVER W. WANGER
                                              United States District Court Judge,
21                                            Eastern District of California
22
23
24
25
26
27
28


     U.S. vs. Boob ar, et al.                            Stipulation and Order for a resetting of Hearing
     C ase N o. C R-F - 0 2-5 30 1 O W W          2      Of Hea ring on Report of Probation Officer
        Case 1:02-cr-05301-DAD Document 406 Filed 04/27/05 Page 3 of 3


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     U.S. vs. Boob ar, et al.                    Stipulation and Order for a resetting of Hearing
     C ase N o. C R-F - 0 2-5 30 1 O W W    3    Of Hea ring on Report of Probation Officer
